                       Case 4:15-cr-00038-JM Document 931 Filed 05/05/21 Page 1 of 2
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet I



                                     UNITED STATES DISTRICT COURT
                                                         Eastern District of Arkansas

           UNITED STATES OF AMERICA                                  )) JUDGMENT IN A CRIMINAL CASE
                                V.                                   ) (For Revocation of Probation or Supervised Release)
                                                                     )
           JAMES KENARS CRENSHAW JR.                                 )
                                                                     ) Case No. 4: 15-cr-00038-JM-6
                                                                     ) USM No. 29054-009
                                                                     )
                                                                     )                         J. Brooks Wiggins
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           ~3_ _ _ _ _ _ _ _ _ _ of the term of supervision.
•   was found in violation of condition(s) count(s)                                after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                               Violation Ended
3 - Mandatory (3)             Unlawful use of a controlled substance                                           02/02/2021




       The defendant is sentenced as provided i11 pages 2 through _ _2 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
•   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5950                                                 05/05/2021
                                                                                              te of Imposition of Judgment
Defendant's Year of Birth:           1986

City and State of Defendant's Residence:                                                          Signature of Judge
Conway, Arkansas
                                                                              JAMES M. MOODY JR., U.S. DISTRICT JUDGE
                                                                                                Name and Title of Judge


                        FILED
                  U.S. DISTRICT COURT  ·                                                                    Date
              EASTERN DISTRICT ARKANSAS

                        MAY O5 2021
          JA~ES W. Mc~CK, CLERK
          By.          ~             ~ p CLERK
                       Case 4:15-cr-00038-JM Document 931 Filed 05/05/21 Page 2 of 2
AO 245D (Rev. 09/19)     Judgment in a Criminal Case for Revocations
                         Sheet 2- Imprisonment
                                                                                                  Judgment - Page   -=2-    of   2
DEFENDANT: JAMES KENARS CRENSHAW JR.
CASE NUMBER: 4:15-cr-00038-JM-6


                                                               IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
NINE (9) MONTHS with no term of supervised release to follow




     Iii"   The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant participate in non-residential substance abuse treatment during incarceration.




     Iii"   The defendant is remanded to the custody of the United States Marshal.

     •      The defendant shall surrender to the United States Marshal for this district:
            •    at   _________ •                       a.m.      •    p.m.   on
            •    as notified by the United States Marshal.

     •      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            •    before 2 p.m. on
            •    as notified by the United States Marshal.
            •    as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                    to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                              By----------------------
                                                                                            DEPUTY UNITED STATES MARSHAL
